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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

 NATIONAL ASSOCIATION FOR                  Civil No. 1:22-cv-404-DKW-RT
 GUN RIGHTS; RONDELLE AYAU;
 JEFFREY BRYANT,                           DEFENDANT ANNE E. LOPEZ’S
                                           OPPOSITION TO PLAINTIFFS’
              Plaintiffs,                  MOTION FOR PRELIMINARY
                                           INJUNCTION (DKT. 24);
       v.                                  DECLARATION OF
                                           KALIKO‘ONĀLANI D.
 ANNE E. LOPEZ, in her official            FERNANDES; EXHIBITS “1” –
 capacity as Attorney General for the      “9”; CERTIFICATE OF SERVICE
 State of Hawai‘i,
                                           District Judge: Chief Judge Derrick K.
              Defendant.                   Watson

                                           Magistrate Judge: Rom Trader

                                           Hearing: April 7, 2023 at 10:00 a.m.
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                                 INTRODUCTION

       Hawaiʻi law prohibits assault pistols and detachable magazines capable of

holding more than ten rounds of ammunition (“large-capacity magazines” or

“LCMs”)—military-style weapons and accessories capable of rapidly killing large

numbers of people. Plaintiffs ask the Court to preliminarily enjoin these provisions

of Hawaiʻi law—over 30 years after passage by the Hawaiʻi Legislature—on the

theory that they will suffer irreparable harm unless the Court permits them to

acquire, possess, sell, and transfer assault pistols and LCMs while this case

proceeds. Plaintiffs’ request for such extraordinary relief must be denied.

      First, Plaintiffs have failed to establish that they are likely to succeed on the

merits. The impetus for Plaintiffs’ challenge to Hawaii’s 30-year-old law is

presumably the U.S. Supreme Court’s decision in New York State Rifle & Pistol

Association v. Bruen, 142 S. Ct. 2111 (2022), but Bruen did not “decide anything

about the kinds of weapons that people may possess,” id. at 2157 (Alito, J.,

concurring). Instead, Bruen announced a general Second Amendment standard—

requiring a text-and-history analysis—that Plaintiffs plainly do not satisfy. Under

that standard, Plaintiffs have the burden of demonstrating that “the Second

Amendment’s plain text covers” their proposed conduct, id. at 2129-30, but

Plaintiffs have made no discernable effort to carry this burden. Nor could they

even if they tried. LCMs are not “Arms” protected by the Second Amendment,



                                           1
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 and neither LCMs nor assault pistols are in common use for self-defense—the

 “central component of the Second Amendment right.” Id. at 2133 (cleaned up).

 Even if Plaintiffs had satisfied these textual burdens, moreover, they would fail at

 Bruen’s second step: Defendant has assembled—even at this early stage of the

 proceedings—a robust record proving that the provisions at issue are “consistent

 with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

       Plaintiffs have also failed to satisfy the remaining preliminary injunction

 factors. They have not shown that they will suffer irreparable harm from

 maintaining the 30-year status quo, which permits them many other options for

 self-defense while this case proceeds. The balance of the equities and the public

 interest, moreover, weigh so strongly against preliminary relief that Plaintiffs’

 motion could be denied on that basis alone. There have been 71 mass shootings in

 2023 thus far1 —and it is only 46 days into the year. Surely after Columbine,

 Sandy Hook, Pulse Nightclub, Las Vegas, Parkland, Uvalde, and the many other

 horrifying mass shootings in this country, it is crystal clear why the public would

 be disserved—and put in harm’s way—by preliminarily enjoining Hawaii’s law

 restricting easily concealable, military combat-style weapons with an extraordinary



 1
  Gun Violence Archive, Gun Violence Archive 2023,
 https://www.gunviolencearchive.org/ (last accessed Feb. 15, 2023); id.,
 https://www.gunviolencearchive.org/methodology (defining “mass shooting” as “4
 or more shot or killed, not including the shooter”).

                                           2
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 “capability for lethality—more wounds, more serious, in more victims”2—and the

 LCMs that permit shooters to fire over ten rounds of ammunition without stopping

 to reload. “Suffice it to say that in very real terms,” Plaintiffs’ alleged harm “pales

 in comparison to the unspeakable devastation caused by mass shooters wildly

 spraying bullets without end into a crowd of bystanders.” Ocean State Tactical,

 LLC v. Rhode Island, No. 22-cv-246, 2022 WL 17721175, at *24 (D.R.I. Dec. 14,

 2022). Plaintiffs’ motion must be denied.

                                   BACKGROUND

       In 1992, following several deadly mass shootings using semi-automatic

 weapons—including 21 people killed in a McDonald’s in 1984 in San Ysidro,

 California,3 and 5 children killed and more than 30 other individuals wounded in

 1989 at an elementary school in Stockton, California4—the Hawaiʻi Legislature

 passed Senate Bill (“S.B.”) No. 1843 (now codified at HRS §§ 134-1, 134-4, and

 134-8) to address semi-automatic firearms with certain accessories and

 configurations, statutorily defined as “assault pistols,” and detachable ammunition



 2
   Public Safety and Recreational Firearms Use Protection Act, H.R. Rep. No. 103-
 489 (May 2, 1994).
 3
   Violence Policy Center, Where’d They Get Their Guns?,
 https://www.vpc.org/studies/wgun840718.htm (last accessed Feb. 15, 2023).
 4
   Associated Press, Five Children Killed as Gunman Attacks a California School,
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 magazines with a capacity in excess of ten rounds, often referred to as large-

 capacity magazines. See 1992 Haw. Sess. Laws Act 286, at 740-42. Legislative

 “[t]estimony indicated that semi-automatic assault pistols are particularly

 dangerous because they are easily concealed, can fire in rapid succession for

 sustained periods . . . and often accept large-capacity, detachable ammunition

 magazines.” H. Stand. Comm. Rep. No. 1261-92, in 1992 House Journal, at 1382.

        HRS § 134-8(a), accordingly, prohibits the “manufacture, possession, sale,

 barter, trade, gift, transfer, or acquisition of . . . assault pistols[.]” “Assault pistol”

 is defined in HRS § 134-1 as follows:

        “Assault pistol” means a semiautomatic pistol that accepts a
        detachable magazine and has two or more of the following
        characteristics:

        (1) An ammunition magazine that attaches to the pistol outside of the
        pistol grip;[5]
        (2) A threaded barrel capable of accepting a barrel extender, flash
        suppressor, forward hand grip, or silencer;[6]

 5
   A pistol grip “can be an aid in one-handed firing of [a] weapon in a combat
 situation[,]” and “such grips were designed to assist in controlling machineguns
 during automatic fire.” Bureau of Alcohol, Tobacco & Firearms, Report and
 Recommendation of the ATF Working Group on the Importability of Certain
 Semiautomatic Rifles, 6 (July 6, 1989), https://www.atf.gov/file/61761/download.
 6
   A threaded barrel is a firearm barrel that is modified or “threaded” on the end to
 accept certain features, see Busse Decl. ¶ 22, like a barrel extender, flash
 suppressor, forward hand grip, or silencer, see HRS § 134-1. A barrel extender is
 an additional length of barrel that can increase accuracy and dampen recoil during
 rapid fire. See https://www.usmachinegun.com/products.php?cat=13&pg=3 (last
 accessed Feb. 15, 2023). A flash suppressor is “designed to help conceal a
 shooter’s position by dispersing muzzle flash,” Kolbe v. Hogan, 849 F.3d 114, 125
 (4th Cir. 2017) (en banc), abrogated on other grounds by Bruen, 142 S. Ct. 2111,

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       (3) A shroud that is attached to or partially or completely encircles the
       barrel and permits the shooter to hold the firearm with the second
       hand without being burned;[7]
       (4) A manufactured weight of fifty ounces or more when the pistol is
       unloaded;
       (5) A centerfire pistol with an overall length of twelve inches or
       more;[8] or
       (6) It is a semiautomatic version of an automatic firearm;[9]

       but does not include a firearm with a barrel sixteen or more inches in
       length, an antique pistol as defined in this section, or a curio or relic[.]



 thus “disguis[ing] the origin of fire and avoid[ing] detection by enemy forces,”
 Busse Decl. ¶ 20. A forward hand grip “is designed to aid in firearm stabilization
 during the rapid firing of assault rifles and assault pistols,” and “first gained
 prominence inside special operations military units where ‘cluttering’ from
 accessories and extreme heat generated from the rapid firing of rifles were
 problems for troops in wartime situations.” Id. ¶ 19. A silencer is “designed to
 greatly reduce the sound of a gunshot[.]” Id. ¶ 22.
 7
   Because “[g]un barrels become very hot when multiple rounds are fired through
 them quickly,” a barrel shroud “cools the barrel so that it will not overheat, and
 provides the shooter with a convenient grip especially suitable for spray-firing.”
 H.R. Rep. No. 103-489; see also Kolbe, 849 F.3d at 125 (same).
 8
   Centerfire firearms are “chambered with centerfire ammunition, which has the
 primer (the component that ignites the propellant) located in the center of the base
 of the cartridge case (as opposed to the rim of the cartridge).” Busse Decl. ¶ 10.
 Centerfire cartridges are “generally much more powerful than rimfire cartridges.”
 Id. “As an example, the .223, which is the most common AR-15 cartridge, fires
 bullets at more than 3000 feet/second, whereas a rimfire cartridge typically propels
 bullets at around 1100 feet/second.” Id. The “increased centerfire velocity greatly
 increases the range and lethality of centerfire cartridges.” Id.
 9
   An automatic firearm, also known as a machine gun, “fires a continuous stream
 as long as the trigger is held down, until it has fired all of the cartridges (‘rounds’
 or ‘bullets’) in its magazine (or ‘clip’).” H.R. Rep. No. 103-489 at n.20. “A semi-
 automatic gun fires one round, then loads a new round, each time the trigger is
 pulled until its magazine is exhausted.” Id. Semi-automatic weapons “can be fired
 at rates of 300 to 500 rounds per minute, making them virtually indistinguishable
 in practical effect from machineguns.” H.R. Rep. No. 103-489.

                                            5
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 Through this features-based definition, the Legislature sought to identify “a list of

 objective physical characteristics typical of the firearms which represent[] a

 heightened risk of danger to our community because of their concealability and

 firepower while having little or no utility for sporting applications.” H. Stand.

 Comm. Rep. No. 1261-92, in 1992 House Journal, at 1382.10

       LCMs are addressed in HRS § 134-8(c), which prohibits “[t]he manufacture,

 possession, sale, barter, trade, gift, transfer, or acquisition of detachable

 ammunition magazines with a capacity in excess of ten rounds which are designed

 for or capable of use with a pistol[.]”11 This does not apply “to magazines



 10
    HRS § 134-8(a)’s prohibition on assault pistols is subject to HRS § 134-4(e),
 which provides:
        After July 1, 1992, no person shall bring or cause to be brought into
        the State an assault pistol. No assault pistol may be sold or transferred
        on or after July 1, 1992, to anyone within the State other than to a
        dealer licensed under section 134-32 or the chief of police of any
        county except that any person who obtains title by bequest or intestate
        succession to an assault pistol registered within the State shall, within
        ninety days, render the weapon permanently inoperable, sell or
        transfer the weapon to a licensed dealer or the chief of police of any
        county, or remove the weapon from the State.
 11
    A magazine “is a vehicle for carrying ammunition[,]” and “can be either integral
 to the gun or detachable.” Ocean State, 2022 WL 17721175, at *4 (cleaned up).
 “A magazine enables a shooter to fire repeatedly—a number of times up to the
 ammunition capacity of the magazine—without reloading. Once a magazine is
 empty, the shooter may continue to fire only after pausing to change magazines or
 to reload the original magazine.” Duncan v. Bonta, 19 F.4th 1087, 1096 (9th Cir.
 2021) (en banc), vacated and remanded on other grounds, 49 F.4th 1228 (9th Cir.
 2022) (en banc). The magazines barred by HRS § 134-8(c) would “thus allow a
 shooter to fire more than ten rounds without any pause in shooting.” Id. at 1097.

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 originally designed to accept more than ten rounds of ammunition which have been

 modified to accept no more than ten rounds and which are not capable of being

 readily restored to a capacity of more than ten rounds.” HRS § 134-8(c).

       Plaintiffs here challenge HRS § 134-4(e) and the portions of HRS § 134-8

 addressing assault pistols and LCMs, arguing that they violate the Second and

 Fourteenth Amendments facially “and/or” as applied. Dkt. 21 at PageID # 109 (¶

 41), 110 (¶ 45).12 On November 18, 2022—73 days after filing their initial

 Complaint—Plaintiffs filed a motion for preliminary injunction. See Dkt. 24.

                                      STANDARD

        “A preliminary injunction is an extraordinary remedy never awarded as of

 right.” Grandinetti v. Wes Mun, Civ. No. 17-00215 DKW-KJM, 2017 WL

 2312474, at *2 (D. Haw. May 26, 2017) (quoting Winter v. Nat. Res. Def. Council,

 Inc., 555 U.S. 7, 24 (2008)). To obtain a preliminary injunction, a plaintiff must

 establish “[1] that he is likely to succeed on the merits, [2] that he is likely to suffer

 irreparable harm in the absence of preliminary relief, [3] that the balance of


 12
    Plaintiffs challenge only the portions of HRS § 134-8 that bar the “possession,”
 “sale,” “transfer,” or “acquisition” of assault pistols and LCMs, and not the
 portions that bar “manufacture,” “barter,” “trade,” or “gift.” See Dkt. 21 at PageID
 # 104 (“[Plaintiffs Ayau and Bryant] currently desire to acquire, possess, sell and
 transfer Banned Firearms and Banned Magazines[.]”); id. at PageID # 105 (same
 as to NAGR members); id. at PageID # 110 (requesting a declaratory judgment as
 to “law-abiding adults seeking to acquire, use, transfer, or possess arms that are in
 common use by the American public for lawful purposes”).


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 equities tips in his favor, and [4] that an injunction is in the public interest.”

 Grandinetti v. Hyun, Civ. No. 16-00470 DKW-KJM, 2017 WL 239741, at *1 (D.

 Haw. Jan. 19, 2017) (quotation omitted). “When the government is a party, the[]

 last two factors merge.” Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092

 (9th Cir. 2014). “If a plaintiff can only show that there are ‘serious questions

 going to the merits’—a lesser showing than likelihood of success on the merits—

 then a preliminary injunction may still issue if the balance of hardships tips sharply

 in the plaintiff’s favor, and the other two [preliminary injunction] factors are

 satisfied.” Taylor-Failor v. Cnty. of Haw., 90 F. Supp. 3d 1095, 1099 (D. Haw.

 2015) (cleaned up). “Regardless of which standard applies, the movant always has

 the burden of proof on each element of the test.” Id. (cleaned up).

       Where, as here, a plaintiff effectively seeks a mandatory injunction that

 would alter the status quo, the burden is “doubly demanding”—such a plaintiff

 must “establish that the law and facts clearly favor [their] position[.]” Garcia v.

 Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc). Mandatory injunctions

 are “particularly disfavored,” id., and courts “should be extremely cautious about

 issuing a preliminary injunction” that goes beyond maintaining the status quo,

 Tracy Rifle & Pistol LLC v. Harris, 118 F. Supp. 3d 1182, 1194 (E.D. Cal. 2015).13


 13
   See also Baird v. Bonta, No. 2:19-cv-00617-KJM-AC, 2022 WL 17542432, at
 *8 (E.D. Cal. Dec. 8, 2022) (“[W]hen a plaintiff asks to change the status quo
 rather than preserve it, district courts must exercise greater caution. . . . This case

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                                    ARGUMENT

 I.    Plaintiffs Have Not Demonstrated Likelihood of Success on the Merits.

       A.       Bruen’s Second Amendment Standard

       In District of Columbia v. Heller, 554 U.S. 570 (2008), the Supreme Court

 held that the Second Amendment protects “an individual right to keep and bear

 arms for self-defense.” Bruen, 142 S. Ct. at 2125. Following Heller, the courts of

 appeals “coalesced around a ‘two-step’ framework for analyzing Second

 Amendment challenges that combine[d] history with means-end scrutiny.” Id. In

 Bruen, the Court rejected the two-step approach, explaining that while “[s]tep one

 of the predominant framework is broadly consistent with Heller,” its decisions in

 Heller and McDonald v. City of Chicago, 561 U.S. 742 (2010), “do not support

 applying means-end scrutiny in the Second Amendment context.” Bruen, 142 S.

 Ct. at 2127.

       The Court announced that the Second Amendment instead “demands a test

 rooted in the Second Amendment’s text, as informed by history.” Id. Under that

 test, “[w]hen the Second Amendment’s plain text covers an individual’s conduct,

 the Constitution presumptively protects that conduct.” Id. at 2129-30. If a

 plaintiff demonstrates that their conduct is covered by the plain text, “[t]he



 began in 2019; California’s current regime had been operative since 2012, so the
 existing regime is the ‘status quo.’”).

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 government must then justify its regulation by demonstrating that it is consistent

 with the Nation’s historical tradition of firearm regulation.” Id. at 2130.

       The Court explained that the historical analysis required if a plaintiff

 satisfies the initial textual burden “will often involve reasoning by analogy”—in

 other words, “determining whether a historical regulation is a proper analogue for a

 distinctly modern firearm regulation” by asking “whether the two regulations are

 ‘relevantly similar.’” Id. at 2132. The Court declined to “provide an exhaustive

 survey of the features that render regulations relevantly similar under the Second

 Amendment,” but it did explain that “Heller and McDonald point toward at least

 two metrics: how and why the regulations burden a law-abiding citizen’s right to

 armed self-defense.” Id. at 2132-33. Because “individual self-defense is the

 central component of the Second Amendment right,” “whether modern and

 historical regulations impose a comparable burden on the right of armed self-

 defense and whether that burden is comparably justified are central considerations

 when engaging in an analogical inquiry.” Id. at 2133 (cleaned up).

       The Court made clear that the historical analysis is not a “regulatory

 straightjacket,” and does not require “a modern-day regulation [to be] a dead ringer

 for historical precursors.” Id. “[T]he government [must] identify a well-

 established and representative historical analogue, not a historical twin.” Id.




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       The Court also reaffirmed that the Second Amendment is “not a right to

 keep and carry any weapon whatsoever in any manner whatsoever and for

 whatever purpose.” Id. at 2128 (quoting Heller, 554 U.S. at 626); see also Bruen,

 142 S. Ct. at 2162 (Kavanaugh, J., concurring) (“Properly interpreted, the Second

 Amendment allows a ‘variety’ of gun regulations.”). And although Bruen clarified

 the Second Amendment standard, it “decide[d] nothing” about “the kinds of

 weapons that people may possess.” Id. at 2157 (Alito, J., concurring).

       B.     Plaintiffs Have Not Demonstrated that the Challenged Provisions
              Burden Conduct Covered by the Text of the Second Amendment.

       To succeed in a Second Amendment challenge, Plaintiffs must demonstrate

 that “the Second Amendment’s plain text covers” their proposed conduct—i.e., the

 possession, sale, transfer, and acquisition of assault pistols and LCMs. Bruen, 142

 S. Ct. at 2129-30.14 This requires showing that “the ‘textual elements’ of the



 14
   Plaintiffs do not appear to dispute that they bear the burden at the textual stage,
 and case law makes clear that the burden is theirs. See, e.g., Ocean State, 2022
 WL 17721175, at *12 (“[I]t is [plaintiffs’] burden to show that large-capacity
 magazines fall within the purview of the Second Amendment[.]”); Baird, 2022 WL
 17542432, at *6 (“[F]or the first part of the preliminary injunction test, [plaintiffs]
 must show they are likely to prove ‘the Second Amendment’s plain text covers’
 conduct regulated by California Penal Code sections 25850 and 26350.”); Or.
 Firearms Fed’n, Inc. v. Brown, No. 2:22-cv-01815, 2022 WL 17454829, at *11
 (D. Or. Dec. 6, 2022) (“Plaintiffs have not shown that [LCMs] are weapons ‘in
 common use . . . for lawful purposes like self-defense’ such that they fall within
 the plain text of the Second Amendment.” (cleaned up)).



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 Second Amendment’s operative clause—‘the right of the people to keep and bear

 Arms . . .’”—cover the conduct at issue because: (1) the regulated instrument

 “constitute[s] [a] bearable arm[,]” and (2) the regulated instrument is “in common

 use” for self-defense. Id. at 2128, 2132, 2134 (citation omitted).

       Plaintiffs fail to make this showing for both assault pistols and LCMs. Their

 motion offers the Court no real argument on their textual burden; they simply

 declare that it has been satisfied, see Dkt. 24 at PageID # 123, a plainly insufficient

 showing for preliminary relief. But even if Plaintiffs attempted to meet their

 burden at the textual stage, they would not succeed. LCMs are not “Arms,” and

 neither LCMs nor assault pistols are in common use for self-defense.

              3.     LCMs Are Not “Arms” Under the Second Amendment.

       As the Supreme Court explained in Heller, and reaffirmed in Bruen,

 determining whether the Second Amendment’s protections apply requires a

 “‘textual analysis’ focused on the ‘the normal and ordinary’ meaning of the Second

 Amendment’s language.” Bruen, 142 S. Ct. at 2127 (quoting Heller, 554 U.S. at

 576-77). And the normal and ordinary meaning of “Arms” in the 18th century “is

 no different from the meaning today.” Heller, 554 U.S. at 581. That is, “Arms”

 are “weapons of offence, or armour of defence,” or stated differently, “any thing

 that a man wears for his defence, or takes into his hands, or useth in wrath to cast

 at or strike another.” Id. (cleaned up).



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       Neither magazines nor, more specifically, LCMs, are by themselves used as

 a means of defense or used “in wrath to cast at or strike another.” Ocean State,

 2022 WL 17721175, at *12; see also Duncan, 19 F.4th at 1096 (“On its own, a

 magazine is practically harmless and poses no threat to life or limb[.]”). As such,

 an LCM is an accessory, not a firearm, nor even an integral part of a firearm.15 As

 courts have noted regarding other accessories, such as silencers, LCMs “have no

 use independent of their attachment to a gun. They do not fire bullets on their own

 and do not contain a slide, trigger, firing pin, cartridge case, barrel, primer, or

 gunpowder.” United States v. Hasson, No. GJH-19-96, 2019 WL 4573424, at *2

 (D. Md. Sept. 20, 2019). Like a silencer, “you can’t hurt anybody with a[n] [LCM]

 unless you hit them over the head with it.” Id.16

       Gun manufacturers themselves view detachable magazines, including

 LCMs, as “accessories.” Busse Decl. ¶ 30 (“Because a[n] [LCM] is not a required

 component for a firearm to operate, it is characterized as an accessory by the

 industry.”). That is consistent with the understanding during the Founding era,

 when various items of equipment necessary for militia men were commonly

 referred to as “arms and accoutrements”—and “arms” as a stand-alone term


 15
    Because HRS § 134-8(c)’s prohibition extends only to detachable magazines,
 LCMs under Hawai‘i law are, by definition, not possibly integral within a firearm.
 16
    See also United States v. Cox, 906 F.3d 1170, 1186 (10th Cir. 2018) (“A silencer
 is a firearm accessory; it’s not a weapon in itself (nor is it ‘armour of defence’).
 Accordingly, it can’t be a ‘bearable arm’ protected by the Second Amendment.”).

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 referred to weapons, but generally “did not include ammunition or other weapon

 accessories, including the historical analogue” to magazines, i.e., cartridge boxes

 and the like.17 Baron Decl. ¶¶ 10, 34. Rather, these were considered

 “accoutrements” that, “like the other military equipment (scabbards, belts and so

 forth) . . . was separate from, and did not include, arms.” Id. ¶ 34.

       The historical record, then, demonstrates that the term “Arms,” which is the

 “object” of the Second Amendment, see Heller, 554 U.S. at 581, never included

 the historical analogue of magazines or LCMs. Baron Decl. ¶ 78 (“[T]here is

 virtually no lexical data that I have found showing that ‘arms’ includes

 ‘accoutrements,’ ‘cartridge boxes,’ ‘cartouch boxes,’ ‘magazines,’ or any other

 parts of weapons.”). As such, the term “Arms,” which retains the same meaning

 today as it did in the Founding era, Heller, 554 U.S. at 581, does not include

 LCMs.

       Contrary to Plaintiffs’ suggestion, see Dkt. 24 at PageID # 129, the term

 “Arms” cannot be extended to cover LCMs on the basis that they are necessary to

 operate a firearm. Unlike ammunition, see Jackson v. City & Cnty. of S.F., 746

 F.3d 953, 967-68 (9th Cir. 2014), a firearm can operate without an LCM, see


 17
   At the time, “[t]he word ‘magazine’ was not typically used to refer to the
 compartment of a gun containing bullets.” Baron Decl. ¶ 24. Rather, a
 “magazine” was “a place, often a building or warehouse, to store goods and
 supplies,” and bullets were instead kept in “cartridge boxes,” “cartridge cases,” or
 “cartouch boxes.” Id.

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 Ocean State, 2022 WL 17721175, at *12 (“Without bullets, a firearm would be

 useless. But a firearm can fire bullets without a detachable magazine, and in any

 event, a firearm does not need a magazine containing more than ten rounds to be

 useful.”). “[A]ny firearm capable of accepting a detachable magazine holding

 more than 10 rounds,” moreover, “will also accept a magazine with a maximum

 capacity of ten rounds or fewer.” Yurgealitis Decl. ¶ 58; see also Busse Decl. ¶ 27

 (“[T]here is no known firearm that requires a large capacity magazine to function

 as designed. . . . [A]ll firearms that can accept a large capacity magazine can also

 accept a magazine that holds fewer rounds and still function precisely as

 intended.”).18 For these reasons, Plaintiffs’ argument fails.19

              4.     Assault Pistols and LCMs Are Not In Common Use for Self-
                     Defense.

       Among the “important limitation[s] on the right to keep and carry arms,” is

 the Second Amendment’s protection only for weapons “‘in common use . . .’ for

 lawful purposes like self-defense,” Heller, 554 U.S. at 624, 627; see also Bruen,


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    Although some firearms are sold with LCMs, “the manufacturers all offer the
 optional purchase of 10 round or even lower capacity magazines and could easily
 offer magazines limited to almost any given round count.” Busse Decl. ¶ 27.
 19
    This is entirely consistent with the Ninth Circuit’s en banc decision in Duncan.
 Although Duncan did not directly address whether LCMs are “Arms,” and
 proceeded on the assumption that they were, the Court found that the ban on LCMs
 “outlaws no weapon, but only limits the size of the magazine that may be used
 with firearms.” Duncan, 19 F.4th at 1096. That finding “is consistent with finding
 a magazine an accessory, not itself a firearm.” Ocean State, 2022 WL 17721175,
 at *12 n.25.

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 142 S. Ct. at 2134 (addressing whether weapons are “‘in common use’ today for

 self-defense” as part of the Second Amendment’s textual inquiry).

       Plaintiffs acknowledge this requirement in their Complaint, see Dkt. 21 at

 PageID # 105, 107, but the Complaint’s efforts to address it distort the relevant

 analysis.20 Plaintiffs reduce the “in common use” inquiry to “own[ership,]”

 “possess[ion,]” and even mere “existence[,]” id. at PageID # 105-08, but whether a

 weapon is in “common use,” by its plain terms, cannot turn only on whether the

 weapon exists, or whether the weapon is commonly owned or possessed. Each of

 those generally must be true for a weapon to be commonly used—a weapon that

 does not exist, for example, cannot be commonly used. But determining whether a

 weapon is in common use for self-defense requires more than simply counting up

 how many units have been manufactured, bought, or sold; it requires considering

 the suitability of the weapon for self-defense and the actual use of the weapon for

 self-defense. See, e.g., Bruen, 142 S. Ct. at 2132 (“[T]he Second Amendment’s

 definition of ‘arms’ . . . covers modern instruments that facilitate armed self-

 defense.” (emphasis added)); id. at 2142 (referring to “the right to publicly bear

 arms suited for self-defense” (emphasis added)). Heller itself followed this



 20
   Plaintiffs’ preliminary injunction motion—in which Plaintiffs must show that
 they are likely to succeed on the merits—fails to offer any real analysis of the
 textual questions included in the Second Amendment inquiry, including whether
 LCMs and assault pistols are “in common use” for self-defense.

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 approach by exploring the “reasons that a citizen may prefer a handgun for home

 defense[.]” 554 U.S. at 629 (emphasis added); 21 see also Duncan, 19 F.4th at

 1127 (Berzon, J., concurring) (“Heller focused not just on the prevalence of a

 weapon, but on the primary use or purpose of that weapon.”); Brown, 2022 WL

 17454829, at *10 n.13 (“The Second Amendment . . . requires a court to not only

 consider the prevalence of a particular firearm, but also the nature of that firearm’s

 use among civilians.”).

       Equating common use with common possession or common ownership, as

 Plaintiffs suggest, makes little sense. Numerous courts have agreed. See, e.g.,

 Worman v. Healey, 922 F.3d 26, 35 n.5 (1st Cir. 2019) (explaining that “measuring

 ‘common use’ by the sheer number of weapons lawfully owned is somewhat

 illogical”); Kolbe, 849 F.3d at 142 (“[T]he Heller majority said nothing to confirm

 that it was sponsoring the popularity test.”); Friedman v. City of Highland Park,

 784 F.3d 406, 409 (7th Cir. 2015) (“[R]elying on how common a weapon is at the

 time of litigation would be circular to boot. . . . [I]t would be absurd to say that the

 reason why a particular weapon can be banned is that there is a statute banning it,

 so that it isn’t commonly owned.”); see also Duncan, 19 F.4th at 1126 (Berzon, J.,



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    “It is easier to store in a location that is readily accessible in an emergency; it
 cannot easily be redirected or wrestled away by an attacker; it is easier to use for
 those without the upper-body strength to lift and aim a long gun; it can be pointed
 at a burglar with one hand while the other hand dials the police.” Id.

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 concurring) (agreeing with the Seventh Circuit and noting that “[t]o regard an

 arms-related device’s popularity as the source of its own constitutionality is no less

 circular” (cleaned up)).

       Heller itself indicates that weapons “most useful in military service . . . may

 be banned” regardless of popularity, demonstrating that popularity is not

 determinative. 554 U.S. at 627. The example of machine guns is illustrative:

 although there are over 700,000 registered machine guns in the U.S.22—more than

 the approximately 200,000 stun guns cited in Justice Alito’s concurrence in

 Caetano v. Massachusetts, 577 U.S. 411, 420 (2016)—the Court indicated that

 they are not protected because they are not “in common use.” Heller, 554 U.S. at

 624. The Court, in fact, considered a reading of the Second Amendment that could

 render “the National Firearms Act’s restrictions on machineguns . . .

 unconstitutional” to be “startling[.]” Id.23

       A “popularity” test, moreover, would effectively give weapons

 manufacturers the keys to the constitutional kingdom. See Kolbe, 849 F.3d at 141

 (explaining that a weapon “would need only be flooded on the market prior to any


 22
    Bureau of Alcohol, Tobacco, Firearms & Explosives, Firearms Commerce in the
 United States: Annual Statistical Update 2021, at 16 (2021),
 https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-
 report/download.
 23
    Friedman, 784 F.3d at 408 (“During Prohibition the Thompson submachine gun
 (the ‘Tommy gun’) was all too common in Chicago, but that popularity didn’t give
 it a constitutional immunity from the federal prohibition enacted in 1934.”).

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 governmental prohibition in order to ensure it constitutional protection”). It would

 also allow the policy choices of one state to limit the options available to other

 states, contrary to the Supreme Court’s assurance that the Second Amendment “by

 no means eliminates” the States’ “ability to devise solutions to social problems that

 suit local needs and values.” McDonald, 561 U.S. at 785.

                     a.    Assault Pistols and LCMs Are Not Designed For, or
                           Most Suitable For, Self-Defense.

       Neither assault pistols nor LCMs are designed for, or well-suited to, self-

 defense.24 Rather, they are military-style weapons and accessories designed for

 offensive use—precisely what Heller established may be prohibited. See Heller,

 554 U.S. at 627 (noting that “weapons that are most useful in military service—M-

 16 rifles and the like—may be banned”).

       The assault pistols prohibited under Hawaiʻi law—particularly AR- and AK-

 based pistols—“are direct developmental descendants” of military weapons

 “designed for use in combat.” Yurgealitis Decl. ¶ 80. AR-15 pistols in

 particular—the most commonly sold assault pistols in the U.S.—are progeny of

 the Armalite Rifle (AR) model 15 rifle, developed for the U.S. military in the

 1950s and later designated the M-16. Busse Decl. ¶ 33; Yurgealitis Decl. ¶¶ 27,

 29-30. Field evaluations conducted in Vietnam revealed the M-16’s (then the AR-


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   The Court need only reach this argument as to LCMs if it finds that LCMs are
 “Arms” under the Second Amendment.

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 15) extraordinary lethality: in one instance, “[o]ne round in the head” reportedly

 “took it completely off,” and in another instance, opponents were

 “instantaneous[ly]” killed by, for example, a stomach wound that “caused the

 abdominal cavity to explode[.]” Yurgealitis Decl. ¶ 28.

       The AR-15 rifles of today are the civilian versions of the M-16. They differ

 from the M-16 only in that the AR-15 is semi-automatic, while the M-16 is select-

 fire, meaning that it is capable of firing in fully automatic or semi-automatic mode.

 Yurgealitis Decl. ¶ 12; Busse Decl. ¶ 14. That does not mean, however, that the

 AR-15 is less lethal. Soldiers are often trained to use semi-automatic fire “because

 it is more accurate and lethal than automatic fire” in combat, Kolbe, 849 F.3d at

 125, as it allows “targeting of specific human targets with repeated accurate shots

 rather than inaccurate, indiscriminate ‘spray.’” Busse Decl. ¶ 36.

       AR-15 pistols are essentially shortened, more easily concealable AR-15

 rifles. Busse Decl. ¶¶ 11-12. They are “near direct copies” of AR-15 rifles25 that

 can have the “same performance characteristics” as the M-16. Busse Decl. ¶ 11;

 Yurgealitis Decl. ¶ 80. Like the M-16 and the AR-15 rifle, the assault pistols

 regulated under Hawaiʻi law are “unquestionably most useful in military service.”


 25
   The two notable differences are: (1) a barrel under 16 inches, “which means the
 gun in rifle form would be deemed illegal under the 1934 [National Firearms Act]
 which regulates ‘SBRs’ or ‘Short Barreled Rifles,’” and (2) the lack of a rear stock,
 which is “the portion of a rifle used to stabilize the firearm[] against a shoulder
 while firing” and would, if present, render the firearm a rifle. Busse Decl. ¶ 11.

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 Kolbe, 849 F.3d at 137. The features that qualify a weapon as an assault pistol

 serve military functions and are characteristic of offensive use, not self-defense.26

 See, e.g., Busse Decl. ¶¶ 16-20; H.R. Rep. No. 103-489; Kolbe, 849 F.3d at 137

 (“The very features that qualify a firearm as a banned assault weapon—such as

 flash suppressors, barrel shrouds, folding and telescoping stocks, pistol grips, . . .

 and the ability to accept bayonets and large-capacity magazines—‘serve specific,

 combat-functional ends.’”).

       Similarly, LCMs were “not initially designed or intended for the civilian

 marketplace” and “can be traced directly to a military heritage.” Yurgealitis Decl.

 ¶ 59. When the AR-15 was first manufactured for the military, for example, it was

 issued with a twenty-round magazine even though the “civilianized” semi-

 automatic version was sold only with two five-round magazines. Yurgealitis Decl.

 ¶ 60; see also Busse Decl. ¶ 32 (noting that the AR-15 was designed to satisfy

 “clearly stated military requirements,” including that it be “high-capacity-



 26
   This is consistent with the way the firearms industry markets AR-15 style
 weapons. See, e.g., Busse Decl. ¶ 47 (noting that “marketing within the firearms
 industry admits to, and capitalizes on, the AR-15-style weapons as a military
 weapon,” and citing as an example an ad picturing a soldier and an assault weapon
 along with the slogan, “USE WHAT THEY USE”); Tim Dickinson, All-American
 Killer: How the AR-15 Became Mass Shooters’ Weapon of Choice, Rolling Stone,
 Feb. 22, 2018, https://www.rollingstone.com/politics/politics-features/all-
 american-killer-how-the-ar-15-became-mass-shooters-weapon-of-choice-107819/
 (“[C]onsumer gun marketing played up the battlefield appeal of these weapons,
 including tag lines such as: ‘The closest you can get without having to enlist.’”).

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 capable”); Duncan, 19 F.4th at 1102 (LCMs “have limited lawful, civilian benefits,

 whereas they provide significant benefits in a military setting”); Kolbe, 849 F.3d at

 137 (LCMs “are particularly designed and most suitable for military and law

 enforcement applications” (quotation marks omitted)).

       While LCMs and assault pistols may be well-suited to “achieve their

 principal purpose—‘killing or disabling the enemy’ on the battlefield,” id. at 125,

 neither are suitable for self-defense. Assault pistols, as defined under Hawai‘i law,

 are “a poor choice” for this purpose. Yurgealitis Decl. ¶¶ 71, 79. “Projectiles

 travelling at velocities found in AK & AR pistols pose a serious risk of over-

 penetration in most home construction materials,” id. ¶ 73, threatening the safety of

 family members, neighbors, and other bystanders. See Worman, 922 F.3d at 37

 (semi-automatic assault weapons “can fire through walls, risking the lives of those

 in nearby apartments or on the street”); Kolbe, 849 F.3d at 127 (“[A]ssault

 weapons further pose a heightened risk to civilians in that ‘rounds from assault

 weapons have the ability to easily penetrate most materials used in standard home

 construction, car doors, and similar materials.’”). This is not surprising given that

 “[a]ssault weapons were designed to be effective at battlefield ranges of up to 500

 yards,” not the “dozens of feet” typical of self-defense situations. Yurgealitis

 Decl. ¶ 73. Simply put, “wielding [assault] weapons for self-defense within the




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 home is tantamount to using a sledgehammer to crack open the shell of a peanut.”

 Worman, 922 F.3d at 37.

       The assault pistols prohibited under Hawaiʻi law also generally “require two

 hands to effectively aim and shoot,” Yurgealitis Decl. ¶ 79, unlike the handguns

 Heller identified as the “quintessential self-defense weapon.” Heller, 554 U.S. at

 629 (noting, among the “reasons that a citizen may prefer a handgun for home

 defense,” that “it can be pointed at a burglar with one hand while the other hand

 dials the police”); see also Yurgealitis Decl. ¶ 79 (the need for two hands to

 effectively operate an assault pistol “would also preclude the homeowner from

 utilizing their ‘non gun hand’ to pick up or guide a small child or vulnerable /

 handicapped adult”). These features render assault pistols ill-suited to self-

 defense. See Kolbe, 849 F.3d at 127 (“The State has . . . underscored the lack of

 evidence that the banned assault weapons . . . are well-suited to self-defense.”).

       LCMs, too, are “dangerous in self-defense situations because ‘the tendency

 is for defenders to keep firing until all bullets have been expended, which poses

 grave risks to others in the household, passersby, and bystanders.’” Heller v. D.C.,

 670 F.3d 1244, 1263-64 (D.C. Cir. 2011); see also Duncan, 19 F.4th at 1105

 (“[T]he use of [LCMs] results in more gunshots fired, results in more gunshot

 wounds per victim, and increases the lethality of gunshot injuries.” (quoting Fyock

 v. City of Sunnyvale, 779 F.3d 991, 1000 (9th Cir. 2015))). The increased killing



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 capacity of LCMs is unnecessary for self-defense because “[h]ome defense and / or

 self-defense situations are rarely, if ever, lengthy shootouts at long ranges with

 extensive exchanges of gunfire.” Yurgealitis Decl. ¶ 73. As such, it is extremely

 rare for an individual to need to fire more than 10 rounds for defensive purposes.

 See Duncan, 19 F.4th at 1105 (“[T]he record here, as in other cases, does not

 disclose whether the added benefit of a[n] [LCM]—being able to fire more than ten

 bullets in rapid succession—has ever been realized in self-defense in the home.”);

 id. at 1104 (noting that “[e]xperts in this case and other cases report that ‘most

 homeowners only use two to three rounds of ammunition in self-defense,’” and

 concluding that the necessity of firing “more than ten bullets in defense of the

 home is ‘rare,’ or non-existent” (citation omitted)).

       And, finally, the dangers of using military equipment like assault weapons

 and LCMs for self-defense are only amplified when the two are used together. See

 Colwell Decl. ¶ 12 (“Assault weapons, especially when equipped with large

 capacity magazines that can hold 30, 50, or even 100 rounds of ammunition, can

 fire more shots without reloading, causing more injuries per victim (and thus more

 complications), and many of the most devastating injuries I have managed in my

 over 25 years of experience treating gunshot wound victims.”).

       Thus, assault pistols and LCMs are precisely the type of military combat-

 style equipment designed for offensive use that Heller established may be



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 prohibited. See Heller, 554 U.S. at 627; see also Kolbe, 849 F.3d at 137 (“Because

 the banned assault weapons and [LCMs] are clearly most useful in military service,

 we are compelled by Heller to recognize that those weapons and magazines are not

 constitutionally protected.”).

                     b.    Neither Assault Pistols Nor LCMs Are In Fact
                           Commonly Used for Self-Defense.

       Plaintiffs also make no effort to demonstrate that either assault pistols27 or

 LCMs28 are actually commonly used for self-defense. This is fatal to their motion.


 27
    The most Plaintiffs offer regarding assault pistols is their Complaint’s assertion
 that because an estimated three million “stabilizing braces” have been sold since
 2013, that means “at least three million AR-15 pistols or similar firearms are in
 existence,” which “meets the ‘commonly held’ standard.” Dkt. 21 at PageID # 106
 (¶ 32). The first problem with this argument is its misidentification of the proper
 standard. To warrant Second Amendment protection, a weapon must be
 commonly used for self-defense, not simply “commonly held.” The second
 problem is Plaintiffs’ faulty logic. For starters, Plaintiffs do not explain why there
 would be a connection between the number of stabilizing braces sold, and the
 number of assault pistols “in existence.” And even if Plaintiffs are instead trying
 to connect the number of stabilizing braces sold to an alleged number of assault
 pistols possessed, the connection is flawed given that individuals could own more
 stabilizing braces than they do assault pistols. Moreover, as the ATF has noted, the
 same person is likely to own “more than one ‘stabilizing brace’ or firearm
 with an attached ‘stabilizing brace.’” Factoring Criteria for Firearms With
 Attached “Stabilizing Braces,” 88 Fed. Reg. 6478, 6560 (Jan. 31, 2023).
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    The most Plaintiffs offer regarding LCMs is their vague assertion that “millions
 and millions of Americans” own LCMs because LCMs “come standard with many
 of the most popular handguns and long guns on the market, and Americans own
 roughly 115 million of them.” Dkt. 21 at PageID # 107 (¶ 37). This, too, is faulty
 logic. The number of firearms that “come standard” with LCMs is not
 determinative of the number of LCMs in use because even for those firearms, “the
 manufacturers all offer the optional purchase of 10 round or even lower capacity
 magazines and could easily offer magazines limited to almost any given round

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 See Worman, 922 F.3d at 37 (“Equally as important is what the record does not

 show: it offers no indication that the proscribed weapons have commonly been

 used for home self-defense purposes.”). And this is far from the first case in which

 plaintiffs have failed to demonstrate that assault weapons and LCMs are commonly

 used for self-defense. See, e.g., Ocean State, 2022 WL 17721175, at *14 (“There

 is simply no credible evidence in the record to support the plaintiffs’ assertion that

 LCMs are weapons of self-defense[.]”); Worman, 922 F.3d at 37 (“[W]hen asked

 directly, not one of the plaintiffs or their six experts could identify even a single

 example of the use of an assault weapon for home self-defense, nor could they

 identify even a single example of a self-defense episode in which ten or more shots

 were fired.”); Kolbe, 849 F.3d at 127 (“Neither the plaintiffs nor Maryland law

 enforcement officials could identify a single incident in which a Marylander has

 used a military-style rifle. . . or needed to fire more than ten rounds, to protect

 herself.”).

        Plaintiffs here and in other cases cannot make this showing because self-

 defense does not call for weapons and instruments designed for military combat.

 Accordingly, the typical and best-suited arms for self-defense are not assault




 count.” Busse Decl. ¶ 27. Plaintiffs’ allegations do not take into account that
 many of the firearms that “come standard” with LCMs are likely being used
 without LCMs.

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 pistols or weapons equipped with LCMs, but rather handguns or shotguns without

 LCMs. See Busse Decl. ¶ 29; see also Yurgealitis Decl. ¶¶ 71-79.

       For these reasons, Plaintiffs fail to demonstrate that assault pistols and

 LCMs fall within the plain text of the Second Amendment. Neither are designed

 for or well-suited to self-defense, and there is no evidence establishing that they

 are actually used for self-defense. To the contrary, assault pistols and LCMs are

 offensive instruments “most useful in military service—M-16 rifles and the like”

 that Heller explicitly establishes “may be banned.” 554 U.S. at 627; accord Kolbe,

 849 F.3d at 135.

       C.     The Challenged Provisions Are Consistent with the Nation’s
              Historical Tradition of Firearms Regulation.

       Even if Plaintiffs had met their textual burden, their Second Amendment

 challenge would fail. Throughout history, state and local governments have

 regularly enacted restrictions on certain weapons, weapon features, and accessories

 viewed to be particularly dangerous or associated with criminal activity. These

 laws are relevantly similar to Hawaii’s law: by restricting weapons and devices

 unsuitable for self-defense while permitting more suitable alternatives, Hawaii’s

 law imposes a comparably minor, and comparably justified, burden on the right to

 armed self-defense.




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             1.     This Case Requires a “More Nuanced” Approach.

       Bruen establishes that “cases implicating unprecedented societal concerns or

 dramatic technological changes may require a more nuanced approach” to the

 historical inquiry. 142 S. Ct. at 2132. That is the case here. Hawaii’s law

 addresses a dramatic technological change: the development of semi-automatic

 weapons and extended magazines. And it responds to an unprecedented societal

 concern: mass shootings. As a result, the Court should conduct “a broader search

 for historical analogies.” United States v. Rowson, No. 22-cr-310, 2023 WL

 431037, at *24 (S.D.N.Y. Jan. 26, 2023).

       Modern society has produced “a bewildering assortment of firearms whose

 lethality would have been almost unimaginable to the Founding generation,”

 Cornell Decl. ¶ 30, and that includes modern semi-automatic firearms and LCMs.

       The muskets and fowling pieces available to citizens during the colonial and

 Founding eras could not fire multiple shots without reloading, and had numerous

 other limitations that severely restricted their use as murder weapons. See Roth

 Decl. ¶ 16; Cornell Decl. ¶¶ 24-25. Multi-shot weapons were curiosities until the

 late 19th century. Firearms capable of firing more than 10 rounds, such as the

 Puckle Gun patented in 1718 in London, the Jennings introduced in 1821 in New

 York, and the Girandoni developed in Austria, were “experimental, designed for

 military use, rare, defective, or some combination of these features.” Brown, 2022



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 WL 17454829, at *12 & n.17; see Spitzer Decl. ¶¶ 38-41; see also id. ¶ 36 (“The

 guns of 1830 were essentially what they had been in 1430: single metal tubes or

 barrels stuffed with combustible powder and projectiles.”).

       The multi-shot weapons that emerged in the late 19th century (such as the

 Colt, Winchester, and Henry), were not comparable to the semi-automatic weapons

 of today. They were not semi-automatic or capable of rapid fire, and they were not

 widely used by civilians. Instead, they were intended for military use. Spitzer

 Decl. ¶¶ 44-48. Semi-automatic and automatic weapons capable of rapid fire and

 reloading only became commercially available to citizens after World War I, with

 the development of weapons like the Thompson submachine gun. Id. ¶¶ 13, 49;

 Roth Decl. ¶¶ 44-46.

       Assault weapons are a purely modern phenomenon. The first assault rifle

 was not developed until World War II. Yurgealitis Decl. ¶ 20. The AR-15 (later

 the M-16) was not designed until the mid-1950s, and even then, was designed

 solely for military use. Id. ¶ 27. AR-15s did not begin to sell in significant

 numbers among the civilian public until the late 2000s—particularly after the 2012

 Sandy Hook Elementary shooting. Busse Decl. ¶14. LCMs, too, are a modern

 phenomenon with military roots—part and parcel of the dramatic change in

 commercially available weapons technology. Yurgealitis Decl. ¶¶ 59-60; Busse

 Decl. ¶ 40.



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       The AR-15 and other modern assault weapons—especially when equipped

 with LCMs—are extraordinarily lethal, far beyond what was conceivable at the

 Founding, or even in the early 20th century. See, e.g., Cornell Decl. ¶ 28; Busse

 Decl. ¶¶ 10, 44-45; Roth Decl. ¶¶ 12, 53 (“The danger these firearms pose is

 intrinsically different from past weaponry.”). And this dramatically increased

 lethality has contributed to a modern crisis of mass shootings unparalleled in the

 Nation’s history. See Brown, 2022 WL 17454829, at *12-13. During the

 Founding era, homicide rates were low, and “[g]uns were not the weapons of

 choice in homicides that grew out of the tensions of daily life” because of the

 practical limitations of the heavy, single-shot manually loaded firearms of the time.

 Roth Decl. ¶¶ 14-17; Cornell Decl. ¶ 26. As a result, the Founding generation was

 never confronted with the kind of gun violence that plagues modern America.

 Cornell Decl. ¶ 27; see Roth Decl. ¶ 41.

       In fact, from 1776 to 1949, there were no mass shootings involving ten or

 more fatalities. Klarevas Decl. ¶¶ 17. After the first such mass shooting in 1949, a

 few others occurred from the mid-1960s to early-1980s, but after a spike in the

 1980s, the federal assault weapons and LCM ban slowed the trend. Id. ¶¶ 18 &

 Table 6, Figures 9 & 10, 19-21. Since that law expired in 2004, however, there

 have been at least 20 mass shootings with double-digit fatalities, id. ¶ 20, and that

 number continues to climb. Because high-fatality mass shootings are strongly



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 correlated with assault weapons and LCMs, and mass shootings involving assault

 weapons and/or LCMs result in a substantially higher loss of life, assault weapons

 and LCMs pose an extraordinary threat to the safety of American society—a threat

 that did not exist in 1791 or 1868. Klarevas Decl. ¶¶ 10, 12.

       This case, therefore, implicates “unprecedented societal concerns” and

 “dramatic technological changes,” warranting a “more nuanced approach” to the

 search for historical analogues. Bruen, 142 S. Ct. at 2132.

              2.    Governments Throughout the Nation’s History Have
                    Regulated Unusually Dangerous Weapons and Weapons
                    Associated with Criminal Activity.

       The Nation’s history makes clear that governments may regulate the

 “dangerous and unusual weapons” of the day.29 Bruen, 142 S. Ct. at 2128 (quoting

 Heller, 554 U.S. at 627); see, e.g., Brown, 2022 WL 17454829, at *12-14 & n.20

 (LCM ban “consistent with the Nation’s historical tradition of firearm regulation”


 29
   Heller referred to both “dangerous and unusual weapons” and “dangerous or
 unusual weapons.” 554 U.S. at 623, 627. There are notable historical references—
 including by Blackstone—to “dangerous or unusual weapons.” See Cornell Decl.
 ¶ 9 & n. 9; see also O’Neill v. State, 16 Ala. 65, 67 (1849); State v. Lanier, 71 N.C.
 288, 289 (1874); English v. State, 35 Tex. 473, 476 (1872). It is “also possible that
 the phrase was an example of an archaic grammatical and rhetorical form
 hendiadys,” Cornell Decl. ¶ 9 & n.9, “in which two terms separated by a
 conjunction work together as a single complex expression,” and “their meanings
 are melded”—here, meaning an unusually dangerous weapon. Samuel L. Bray,
 “Necessary and Proper” and “Cruel and Unusual”: Hendiadys in the
 Constitution, 102 Va. L. Rev. 687, 688-89 (2016).



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 given historical regulations on “Bowie knives, blunt weapons, slungshots, and trap

 guns”). Indeed, “new technologies bred new laws,” Cornell Decl. ¶ 63; see Spitzer

 Decl. ¶¶ 8, 11, and Hawaii’s law restricting assault pistols and LCMs fits squarely

 within that tradition; it is “part of a pattern in America’s history of legislative

 restrictions on particular weapons stretching back centuries.” Spitzer Decl. ¶ 11.

       Clubs and Blunt Objects. The first restrictions on weapons used for

 criminality, rather than self-defense, were restrictions on clubs and other blunt

 instruments. Prior to the Founding, and as early as 1664, states enacted regulations

 banning or restricting the carry of clubs, including bludgeons, billy clubs,

 slungshots, and sand clubs. Spitzer Decl. ¶¶ 75-82. Restrictions of slungshots, for

 example, arose mainly in the 1800s, in response to their frequent use by criminals

 and gang members. Id. ¶ 79. By the 19th century, every state in the Nation had

 such blunt-weapon restrictions. Id. ¶¶ 75-82 & Ex. C.

       Gunpowder. In the early republic, states and localities played a role in

 regulating “every aspect of the manufacture, sale, and storage” of gun powder.

 Cornell Decl. ¶ 44. These regulations were meant to protect public safety—a

 traditional part of the States’ police power retained after ratification of the

 Constitution. Id. ¶¶ 42-43; Brown v. Maryland, 25 U.S. 419, 443 (1827). New

 York and New Hampshire, for example, limited the amount of gunpowder a citizen

 could store in his home. 1784 N.Y. Laws 627, ch. 28; 1786 N.H. Laws 383, § 1.



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 Massachusetts forbade any person to “take into any Dwelling-House, Stable, Barn,

 Out-House, Warehouse, Store, Shop, or other Building, within the Town of

 Boston, any … Fire-arm, loaded with, or having Gun-Powder.” 1783 Mass. Acts

 218, ch. 13. Other states, like Connecticut, went further, allowing local officials to

 determine whether the “quantity of gun powder” in possession of a private citizen

 “may endanger the persons or dwellings of any individuals whatsoever.” 1832

 Conn. Acts 391, ch. 25, §§ 1-2. If so, officials could order the owner to move

 their gun powder. Id.

       Trap Guns. As weapons technology became more advanced, legislatures

 began to target specific types of dangerous or concealable weapons, used more

 often for criminal activity than self-defense, including the trap gun. Designed to

 protect residences or businesses while the owner was absent, trap guns were rigged

 to fire remotely, typically by a string or wire that caused the firearm to discharge

 when tripped. Spitzer Decl. ¶ 84. While designed to defend property from

 trespassers, the nature of trap guns made it impossible to distinguish between

 criminals and innocent individuals, shifting public opinion against these weapons.

 Id. ¶ 85. As early as 1771, states began to ban or restrict the use of trap guns. Id.

 ¶¶ 84, 87. In all, 16 states enacted trap gun laws from the late 18th century through

 the 20th century. Id. ¶ 87 & Exs. B, F.




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       Concealable Weapons. In the 19th century, technological development in

 firearms and knives continued to increase—as did murder rates. Roth Decl. ¶¶ 23-

 24, 28-34. In response, states further regulated weapons that were particularly

 dangerous and susceptible to criminal activity. Cornell Decl. ¶ 32; Spitzer Decl. ¶¶

 71-72, 74. Many of these regulations focused on restricting access to weapons—

 including pistols—that were easily concealable. For example, technological

 advances in the 1820s allowed for the development of so-called pocket pistols,

 which were designed to be easily hidden in a coat or pocket. Roth Decl. ¶¶ 24-27;

 Spitzer Decl. ¶ 82. Tennessee, for example, prohibited “any person to sell, or offer

 to sell, or bring into the State for the purpose of selling, giving away, or otherwise

 disposing of, belt or pocket pistols, or revolvers, or any other kind of pistol, except

 army or navy pistols.” 1879 Tenn. Pub. Acts 81, An Act to Preserve the Peace and

 to Prevent Homicide, ch. 90, § 1; Cornell Decl. ¶ 34, n.67; Roth Decl. ¶ 36, n.82.

 Multi-shot revolvers, which allowed for reloading via individual cartridges, were

 similarly regulated following the Civil War. Criminals increasingly used these

 more efficient revolvers “in interpersonal assaults.” Roth Decl. ¶ 34. As a result,

 many states began regulating multi-shot revolvers, often by amending prior

 regulations focused on concealable pistols. Id. ¶¶ 35-40; Spitzer Decl. ¶ 49.

       Bowie Knives. In addition to regulations on concealable firearms, many

 states imposed restrictions on Bowie knives. Spitzer Decl. ¶¶ 63-72; Roth Decl. ¶¶



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 25-26. Bowie knives have a long blade and hand guard, specifically designed for

 fighting, and were used frequently in duels and other criminal activities in the 19th

 century. Spitzer Decl. ¶ 64. Forty-nine states and D.C. restricted the use of these

 weapons; 15 states banned individuals from carrying them in public. Spitzer Decl.

 ¶ 71, Ex. H. In upholding a conviction for carrying a Bowie knife, the Tennessee

 Supreme Court remarked that “[t]he design, meaning, and intent [of the restriction]

 was to guard against the destruction of human life, by prohibiting [weapons] the

 only use of which is to kill.” Spitzer Decl. ¶ 67 (quoting Haynes v. Tennessee, 24

 Tenn. 120, 123 (1844)).

       Semi-Automatic and Automatic Weapons and LCMs. In the 20th

 century, the advent of automatic and semi-automatic weapons created—for the first

 time—concern with mass shootings perpetrated by one shooter. As these new

 technologies of unprecedented lethality “began to spread in civil society and be

 used for criminal or other dangerous purposes,” regulations followed. Spitzer

 Decl. ¶ 20. The first fully automatic machine gun was developed during World

 War I to create devastation on the battlefield. Id. ¶ 12. Then a lighter, handheld

 machine gun—the Tommy gun—was invented and quickly became a preferred

 tool for criminals. Id. ¶ 13. The threat of violence posed by these newly accessible

 machine guns caused state legislatures to quickly enact laws restricting them.




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 Between 1925 and 1934, at least 32 states enacted laws targeting automatic and

 semi-automatic weapons. Spitzer Decl. ¶ 23, Exs. B, D.

       In 1928, the National Conference of Commissioners on Uniform State Laws

 published a model law prohibiting possession of “any firearm which shoots more

 than twelve shots semi-automatically without reloading.” Spitzer Decl. ¶ 22. In

 1932, Congress banned certain automatic and semiautomatic weapons—“any

 firearm which shoots automatically or semiautomatically more than twelve shots

 without reloading”—in D.C. Id. ¶ 23. The NRA endorsed D.C.’s ban and

 suggested it could be “used as a guide throughout the states of the Union.” Id.

 (quoting S. Rep. No. 72-575, at 5-6 (1932)). With D.C., as many as 10 other states

 enacted new laws restricting automatic and semi-automatic weapons. Id. ¶ 28,

 Exs. B, D. And in 1934, Congress enacted the National Firearms Act, which

 heavily regulates automatic weapons.30 Id. ¶ 24; Roth Decl. ¶ 47.

       During the same period, at least 23 states restricted ammunition magazines

 or round capacity. Spitzer Decl. ¶¶ 30-32, Table 1. Ten states and D.C. regulated

 semi-automatic and fully automatic weapons. Id. ¶ 31, n.43, Ex. D. Eleven states

 regulated only fully automatic weapons, but defined the regulation by the number

 of rounds that could be fired without reloading or the ability to use ammunition


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   The National Firearms Act imposed similar restrictions on other weapons that
 were frequently used in criminality but had no legitimate self-defense purpose,
 such as sawed-off shotguns and silencers. Spitzer Decl. ¶ 24.

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 feeding devices. Id. ¶ 31, n.44., Ex. D. And 4 states restricted all firearms capable

 of receiving ammunition or round feeding mechanisms and firing them

 continuously. Id. ¶ 31, n.45, Ex. D. These bans on automatic and semi-automatic

 weapons were the latest iteration of a historical tradition of restricting unusually

 dangerous weapons not well-suited, or frequently used, for self-defense. See

 Heller, 554 U.S. at 627; Duncan, 19 F.4th at 1122 (Berzon, J., concurring).

       In sum, these earlier restrictions disallowed certain weapons with

 particularly dangerous features or unique lethality, while leaving other arms

 available for self-defense. Hawaii’s law falls well within this tradition.

              3.     Hawaii’s Law is Relevantly Similar to the Historical
                     Analogues.

       Hawaii’s restrictions on assault pistols and LCMs impose a minimal burden

 on the right of armed self-defense that is comparable to, or even lesser than, the

 burdens imposed by the historical analogues above. See Brown, 2022 WL

 17454829, at *14 (LCM prohibition imposed “minimal” burden and “d[id] not

 impose a greater burden on the right to self-defense than did analogous historical

 regulations”); see also Duncan, 19 F.4th at 1104 (LCM prohibition “impose[d]

 only a minimal burden on . . . the Second Amendment right”).31


 31
   Despite Plaintiffs’ efforts to paint Hawaii’s law as a “blanket prohibition on two
 classes of arms,” see Dkt. No. 24 at PageID # 123, the challenged provisions do
 not, in fact, ban any “entire class of arms” at all. Hawaiʻi law prohibits only a
 subset of arms and magazines, i.e., only “magazines of a particular capacity[] and

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       The gunpowder laws enacted by states in the early Republic similarly

 affected the right of self-defense by preventing the keeping of loaded guns or

 limiting where and how much gunpowder could be kept in the home. See Cornell

 Decl. ¶¶ 42-44. Indeed, gunpowder laws imposed a greater burden than the LCM

 prohibition because, unlike Hawaii’s law, they restricted the total amount of

 ammunition an individual could own or access. And Hawaii’s law is likewise

 similar to the sweeping regulations restricting the carrying and at times the sale and

 possession of concealable weapons like Bowie Knives and pocket pistols, as well

 as the restrictions on blunt weapons and trap guns. These regulations, which date

 back to the Founding, have served to protect the public from highly dangerous

 weapons that were, or still are, of little use for self-defense.




 semiautomatic assault [pistols] that have certain combat-style features.” Worman,
 922 F.3d at 37; see also Duncan, 19 F.4th at 1107 (LCM law “bans merely a subset
 (large-capacity) of a part (a magazine) that some (but not all) firearms use”). And
 Plaintiffs themselves acknowledge that it is only “certain semi-automatic firearms”
 that they are prohibited from owning under Hawaiʻi law. Dkt. 21 at Page ID # 101.
 As a result, Hawaiʻi law burdens Plaintiffs’ alleged Second Amendment rights far
 less than the handgun restrictions at issue in Heller and Bruen, because it does not
 restrict any “entire class of ‘arms,’” let alone one that is “overwhelmingly chosen
 by American society” for the purpose of self-defense. 554 U.S. at 628. See supra
 Part I.B.2 (discussing how both assault pistols and LCMs are unsuitable for and
 rarely used for self-defense); see also Duncan, 19 F.4th at 1104 (holding that a ban
 on LCMs imposes only a “minimal burden” on the right to self-defense in part
 because it does not limit the amount of firearms, bullets, or magazines an
 individual can possess); id. at 1115 (Graber, J., concurring) (finding that “a ban on
 large capacity magazines leaves open ample alternative means of self-defense).

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       Hawaii’s law is also comparably justified. It is driven by the same concern

 that motivated regulations of weapons throughout our Nation’s history: the need to

 protect public safety—specifically against the threat of unusually lethal weapons

 susceptible to criminal misuse. The states that regulated gunpowder possession

 and storage, the states that regulated concealable weapons, and the states that

 regulate semi-automatic weapons and LCMs today have all responded to emerging

 threats to public safety by regulating particularly dangerous weapons. Today’s

 urgent threat is the rise in mass shootings facilitated by modern weapons

 technology, and studies show that prohibitions on assault weapons and LCMs

 reduce the incidence and impact of mass shootings, thereby saving lives. See

 Klarevas Decl. ¶¶ 30-45; see Brown, 2022 WL 17454829, at *14. Assault weapons

 with LCMs have tragically played a central role in many of the deadliest mass

 shootings our Nation has experienced,32 see Yurgealitis Decl. ¶ 80, and Hawaiʻi has

 justifiably acted in response to this pressing public safety concern—the same kind

 of concern that motivated comparable historical restrictions.




 32
   The mass shootings committed with assault pistols include: the 1999 Columbine
 High School shooting (13 fatalities, 23 wounded); the 2019 Dayton, Ohio shooting
 (9 fatalities, 27 wounded); the 2021 Boulder, Colorado shooting (10 fatalities); and
 last month’s shooting at a Monterey Park, California dance studio (11 fatalities, 9
 wounded). Violence Policy Center, Mass Shootings in the United States Involving
 Large Capacity Ammunition Magazines (last updated Feb. 7, 2023),
 https://vpc.org/fact_sht/VPCshootinglist.pdf.

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 II.   Plaintiffs Have Not Satisfied the Other Preliminary Injunction Factors.

       Plaintiffs must affirmatively establish that they satisfy each of the

 preliminary injunction factors, but their motion makes virtually no effort to carry

 their burden on irreparable harm, the balance of the equities, and the public

 interest. Instead, Plaintiffs baldly assert that they have satisfied those factors

 because they have demonstrated a constitutional violation. Dkt. 24 at PageID #

 130-31. But even accepting Plaintiffs’ reduction of the entire preliminary

 injunction analysis to the first factor—which is contrary to Ninth Circuit authority,

 see Brown, 2022 WL 17454829, at *18—Plaintiffs’ analysis fails because they

 have not actually shown that they are likely to succeed on the merits, as explained

 above.

       Plaintiffs’ motion also fails based on an independent analysis of the non-

 merits preliminary injunction factors. As to irreparable harm, Plaintiffs’ case is

 undercut by the passage of time. Plaintiffs seek to preliminarily enjoin provisions

 that the Hawaiʻi Legislature passed in 1992—30 years before Plaintiffs filed suit.

 Plaintiffs also waited an additional 73 days after filing suit to seek a preliminary

 injunction, undermining any assertion that the extraordinary remedy of a

 preliminary injunction is necessary to prevent irreparable harm. See, e.g., Oakland

 Trib., Inc. v. Chron. Publ’g Co., 762 F.2d 1374, 1377 (9th Cir. 1985) (“Plaintiff’s

 long delay before seeking a preliminary injunction implies a lack of urgency and



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 irreparable harm.”).33 The irreparable harm to the State, by contrast, is clear: “Any

 time a State is enjoined by a court from effectuating statutes enacted by

 representatives of its people, it suffers a form of irreparable injury.” Maryland v.

 King, 567 U.S. 1301, 1303 (2012) (cleaned up).34

       The balance of the equities and the public interest also overwhelmingly

 favor the State.35 “The Ninth Circuit instructs that when balancing the hardships

 ‘of the public interest against a private interest, the public interest should receive

 greater weight.’” Rupp v. Becerra, No. 8:17-CV-00746-JLS-JDE, 2018 WL

 2138452, at *13 (C.D. Cal. May 9, 2018) (quotation omitted). Here, it is so clear

 that the public interest outweighs Plaintiffs’ private interests—and that the public

 interest does not favor an injunction—that Plaintiffs’ motion could readily be

 denied on that basis alone. See, e.g., Baird, 2022 WL 17542432, at *6 (denying a


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     See also Garcia, 786 F.3d at 746 (“Garcia waited months to seek an injunction
 . . . ; she did not seek emergency relief when the film first surfaced on the
 Internet.”); Smith v. Biden, No. 1:21-cv-19457, 2021 WL 5195688, at *9 (D.N.J.
 Nov. 8, 2021) (“[T]he fact that Plaintiffs waited nearly two (2) months to seek
 relief dispels any claim of irreparable harm.’”); Wise v. Inslee, No. 2:21-cv-0288-
 TOR, 2021 WL 4951571, at *6 (E.D. Wash. Oct. 25, 2021) (approximately two-
 month delay in seeking emergency injunctive relief “‘implies a lack of urgency and
 irreparable harm’”).
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    Even if Plaintiffs were to argue that their ability to engage in self-defense would
 suffer absent an injunction, that would not satisfy the irreparable injury
 requirement. The provisions at issue cover only assault pistols and LCMs, a small
 fraction of the firearms and magazines potentially available to Plaintiffs to defend
 themselves.
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     “When the government is a party, the[] last two factors merge.” Jewell, 747
 F.3d at 1092.

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 preliminary injunction motion based solely on the plaintiffs’ failure to satisfy the

 balance of harms and public interest factors).

       Assault pistols and LCMs present grave public safety concerns. It is well-

 documented that assault weapons and LCMs are disproportionately used in mass

 shootings, see, e.g., Klarevas Decl. ¶ 12, which “have become a weekly—and

 sometimes daily—event,” Ocean State, 2022 WL 17721175, at *18. The public

 safety concerns with frequent mass shootings are particularly acute with respect to

 assault weapons—including assault pistols—given their capacity for mass

 destruction and devastation. These weapons have military features that “pose

 heightened risks to innocent civilians and law enforcement officers—certainly

 because of the capability to penetrate building materials and soft body armor, but

 also because of an amalgam of other capabilities that allow a shooter to cause mass

 devastation in a very short amount of time.” Kolbe, 849 F.3d at 139. The injuries

 caused by assault weapons—including assault weapons equipped with LCMs—can

 be devastating. As noted by Dr. Christopher Colwell, a physician at the scene of

 the Columbine High School shooting, “assault weapons—including assault

 pistols—tend to cause far greater damage” than non-assault weapons “to the

 muscles, bones, soft tissue, and vital organs,” which are “too often shredded




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 beyond repair.” Colwell Decl. ¶ 9.36 Assault weapons have caused “many of the

 most devastating injuries” Dr. Colwell has managed in his “over 25 years of

 experience treating gunshot wound victims. Id. ¶ 12.

       LCMs also have the capacity to increase lethality and cause mass

 devastation by “enabl[ing] shooters to inflict mass casualties while depriving

 victims and law enforcement officers of opportunities to escape or overwhelm the

 shooters while they reload their weapons.” Kolbe, 849 F.3d at 127; Klarevas Decl.

 ¶ 27 (“LCMs increase kill potential”). Even the potentially brief pause caused by

 “[a] gunman’s need to reload twice using three ten-round magazines instead of a

 single thirty-round magazine . . . saves lives.” Ocean State, 2022 WL 17721175,

 at *19. This is not “mere[] conjecture”; it is borne out by “society’s experience

 with what is now a catastrophic number of these incidents,” including, for

 example, the “eleven children who escaped the Sandy Hook massacre during an

 apparent reloading[.]” Id. at *19, *21; see also Klarevas Decl. ¶¶ 30-31.

        The laws Plaintiffs challenge—passed following several deadly mass

 shootings—are intended to help protect the public, including law enforcement,

 from these potential harms. See, e.g., Yurgealitis Decl. ¶ 82; Klarevas Decl. ¶¶ 39,


 36
   See also Gina Kolata & C.J. Chivers, Wounds From Military-Style Rifles? ‘A
 Ghastly Thing to See,’ N.Y. Times, Mar. 4, 2018,
 https://www.nytimes.com/2018/03/04/health/parkland-shooting-victims-ar15.html;
 Why do mass shooters choose the AR-15 style rifle?, 60 Minutes,
 https://youtu.be/weG-QtQx2-0.

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 42. They have such a clear connection to public safety that it cannot possibly be in

 the public interest to preliminarily enjoin them. See Worman, 922 F.3d at 37

 (“[T]he use of semiautomatic assault weapons implicates the safety of the public at

 large. After all, such weapons can fire through walls, risking the lives of those in

 nearby apartments or on the street.”); Coal. of N.J. Sportsmen, Inc. v. Whitman, 44

 F. Supp. 2d 666, 686 (D.N.J. 1999) (“The rational link between public safety and a

 law proscribing possession of assault weapons is so obvious that it would seem to

 merit little serious discussion.”).

       Even a preliminary injunction of short duration could have a tremendous

 impact on the public. For starters, it would allow assault pistols and LCMs to

 suddenly flood the market.37 As other courts have noted, the resulting risks to the

 public are serious. See, e.g., United States v. Masciandaro, 638 F.3d 458, 475 (4th

 Cir. 2011) (noting that “miscalculat[ion] as to Second Amendment rights” could

 result in “some unspeakably tragic act of mayhem”); Tracy Rifle, 118 F. Supp. 3d

 at 1193 (“The costs of being mistaken, on the issue of whether the injunction

 would have a detrimental effect on handgun crime, violence, and suicide, would be


 37
   See Matthew Green, Gun Groups: More Than A Million High-Capacity
 Magazines Flooded California During Weeklong Ban Suspension, KQED, Apr. 12,
 2019, https://www.kqed.org/news/11740000/gun-groups-more-than-a-million-
 high-capacity-magazines-flooded-california-during-weeklong-suspension-of-ban
 (noting that “[m]ore than a million [LCMs] flooded into California during a one-
 week window created when a federal judge temporarily threw out the state’s ban”
 in what the Gun Owners of California president characterized as a “frenzy”).

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 grave.”). Under these circumstances—and given that the very objective of the

 provisions at issue is public safety—a preliminary injunction is plainly not in the

 public interest, and therefore may not issue. See Rupp, 2018 WL 2138452, at *13.

                                   CONCLUSION

       For the foregoing reasons, Defendant respectfully requests that this Court

 deny Plaintiffs’ motion for preliminary injunction.

       DATED: Honolulu, Hawai‘i, February 15, 2023.

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